                                               UNITED STATES DISTRICT COURT
                                                 DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                                               :               3:18-cr-00005(VAB)
                                                                                       :
v.                                                                                     :
                                                                                       :
CANDACE RISPOLI                                                                        :               MAY 24, 2019

                                 REPLY TO THE GOVERNMENT’S MEMORANDUM
                                           IN AID OF SENTENCING

            The Defendant, Candace Rispoli, respectfully submits this Reply to The Government’s

Memorandum In Aid of Sentencing in support of her request for a downward departure and non-

Guidelines sentence.

            The Government suggests that Ms. Rispoli is ineligible for a downward departure based on

diminished capacity because her mental illness did not contribute to the commission of the crime

since (1) her embezzlement commenced prior to the onset of her mental illness; (2) Dr. Grove’s

analysis “at best” establishes that “Ms. Rispoli’s mental illness allowed her to conduct the fraud

without feeling a sense of guilt,” not that it compelled her to commit the crime; and (3) her conduct

was methodical, purposefully planned and executed over an extended period of time. These

arguments, neither individually nor collectively, preclude this Court from granting a downward

departure as requested. The Government’s arguments requests that this Court hold that the

diminished mental capacity be the sole cause of the offense, when in fact it need only be a



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         Lynch, Traub, Keefe & Errante, P.C. ● 52 Trumbull Street, P.O. Box 1612 ● New Haven, Connecticut 06506-1612
            Phone: (203) 787-0275 ● Fax: (203) 782-0278 ● E-Mail: Lawyers@LTKE.com ● Website: www.LTKE.com

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contributing cause. See Defs. Mem. In Aid of Sentencing and Mot. For Downward Departure at p.

7 (ECF No. 51), citing United States v. Yi Ching Liu, 267 F. sup. 2d 371, 371 (E.D.N.Y. 2003)

(stating that a reduced mental capacity “must be a contributing cause of the offense, but need not be

the sole cause”).

            The Government argues that the evidence demonstrates that the embezzlement scheme

started prior to the onset of PTSD related to the Boston Marathon Bombing – and that this fact

should be dispositive. See Govt. Mem. at p. 5 (ECF No. 68). This argument ignores the reality that

while Ms. Rispoli had in fact made de minimis – albeit unauthorized – charges to the company

credit card, as well as opened an unauthorized PayPal account prior to the Boston Marathon

Bombing, her conduct did not rise to the level of a “systematic, recurring, and well-concealed”

embezzlement scheme as of March 2013. The Government’s evidence supports a finding that the

overwhelming number of transactions and amount of money illegally transferred and concealed

occurred subsequent to the Boston Marathon Bombing. The Government minimizes the fact that

the PayPal account was opened just one-month prior to the bombing and records indicate only six

charges to that account prior to the bombing. In discovery documents provided to the defense, these

six charges were not labeled fraudulent by the company, rather they were labeled “suspect”. These

six transactions aside, the transfers of money from this PayPal account to Ms. Rispoli and Mr.

Miano’s bank accounts – totaling $721,816.00, See Stipulation of Offense Conduct ¶9 (ECF No.



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28) – did not occur before August 2013. Simply because there were some unauthorized transactions

prior to Ms. Rispoli’s diagnosis does not preclude that diagnosis from “substantially contributing to

the commission of the offense”, particularly where she had suffered from the reduced mental

capacity during 40 out of 41 months in which the offense was occurring.

            The Government’s reliance on U.S. v. Valdez, 426 F.3d 178 (2d Cir. 2005) is misplaced as

the facts and circumstances are distinguishable from the present case. While the offenses in Valdez

and the present matter occurred over an approximately three-year period, this is where the

similarities end. The defendant in Valdez was charged with defrauding the AT & T telephone

company of over $200,000.00 in long distance telephone services. Id. at 180-81. This offense

required the defendant to call AT & T “to retrieve calling card numbers, pin numbers, and

passwords for names randomly taken from the phonebook.” Id. at 181. Valdez tested the validity

of the cards by calling two different unsubscribed numbers approximately 5,300 times. These

calling cards allowed Valdez to place and sell thousands of domestic and international calls. Id. In

some recorded calls, Valdez opened numerous accounts during a single call “by offering false

explanations for his actions including posing as a building owner attempting to obtain numbers on

behalf of his ‘tenants.’” Id. He also “sometimes requested special access to certain countries as a

means of overcoming AT & T’s default prohibition on calling card calls to those countries due to

numerous incidents of fraud associated with such calls.” Id. Valdez was observed by Secret



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Service agents making these calls to open calling card accounts and, on some occasions, they saw

him holding pieces of paper with numerous names and addresses on them. Id. In support of his

diminished capacity departure request, Valdez relied upon his low IQ, documented learning

disabilities, dependence on others, and diagnosis of brain damage with severe emotional

disturbance, panic disorder and agoraphobia. Id. at 181-82. In rejecting the request for a downward

departure, the district court said it could not find Valdez’s impairment was severe:

                    [I]n light of the psychiatrist’s testimony, Valdez’s extensive involvement in
                    the fraud, and defendant’s ability to process complex information.
                    Specifically, the district court relied on the fact that Valdez manipulated others
                    by posing as another person, committed the offense for which he was charged
                    over 1,000 times, and in order to do that kept track of hundreds of calling card
                    numbers.

Id. at 185.

            Valdez involved contacting AT & T on separate occasions, using the real names of

numerous people, keeping track of and the receipt of hundreds of different calling card numbers and

pin numbers, making over 5,000 test calls, and then selling those cards. While Valdez shows a

“methodically and purposefully planned and executed” scheme that the Government contends Ms.

Rispoli engaged in, See Govt. Mem. In Aid of Sent. at p. 6, the facts of Ms. Rispoli’s case do not

corroborate this claim. While Ms. Rispoli engaged in multiple separate transactions, she used the

same AMEX card for personal purchases and/or the transfer of the money to two different bank

accounts. The Government rejects Ms. Rispoli’s claim that “her PTSD resulted in a ‘detachment’


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from her ‘computerized transactions’ that made them seem ‘unreal’ [because] her scheme was not

simply a matter of pushing a few buttons, but was methodically and purposefully planned and

executed.” Id. This ignores the reality that the PayPal and Venmo transactions only took the push

of a few buttons on a computer to complete. They did not require her to keep track of hundreds of

names, different card numbers and pin numbers, nor did it require her to make over 5,000 test calls

and sell the cards. That Ms. Rispoli had to choose to use the card for each transaction does not

mean her diminished mental capacity could not substantially contribute to her doing so where it was

in fact as easy as pushing a few buttons.

            Finally, the Government’s contention that Ms. Rispoli is not eligible for a downward

departure because Dr. Grove’s conclusions “[a]t best [] establish that Rispoli’s mental illness

allowed her to conduct the fraud without feeling a sense of guilt”, Id., actually supports the

contention that she could not “control behavior that [she] knows is wrongful” as is required for a

downward departure for diminished capacity. There being no violence/physical harm to the

company or its’ employees during the commission of the offense – and aside from an individual

being a Saint – at a minimum, guilt is a strong deterrence from committing offenses such as this.

Although some people may inherently feel no guilty when committing offenses, Ms. Rispoli’s

detachment and derealization is attributable to her PTSD.




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            For all the reasons set forth above and in her original Memorandum In Aid of Sentencing

and Motion For Downward Departure, Ms. Rispoli respectfully requests the Court grant a

downward departure based upon her diminished capacity.

                                                                             /s/ Hugh F. Keefe
                                                                           HUGH F. KEEFE, ESQ. ct05106
                                                                           Hkeefe@ltke.com
                                                                           MATTHEW D. POPILOWSKI, ESQ. ct28869
                                                                           mpopilowski@ltke.com
                                                                           Lynch, Traub, Keefe and Errante, P.C.
                                                                           52 Trumbull Street
                                                                           New Haven, CT 06510
                                                                           Tel. 203-787-0275
                                                                           Fax.203-782-0278

                                                     CERTIFICATION OF SERVICE

         I hereby certify that on MAY 24, 2019, a copy of the foregoing was filed
electronically and served by mail on anyone unable to receive electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                                           /s/ Hugh F. Keefe
                                                                           HUGH F. KEEFE, ESQ. ct05106




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